Offer of Employment ADT LLC Work From Home-Regional Support Specialist ,
Confidentiality Agreement & Benefits Overview

From: ADT Careers (noreply@recruiting.mail.adt.com)
To: — snychpmn@gmail.com

Date: Wednesday, December 1, 2021 at 02:04 PM CST

Dear Sonya,

Congratulations on your offer for the Work From Home-Regional Support Specialist position with ADT! You may review
the details of this offer and all supporting documentation by logging into ADT's Confidential Portal. Please log in with the
username and password you created when applying (your username has been provided for you below as a reminder). If
you decide to accept our offer, we ask that you electronically, review, sign, and/or acknowledge (as appropriate) the
Offer Letter and Confidentiality Agreement within 48 hours of receipt of this email.

Please log in with this username: SonyaChapman@ADT.com
Thank you,

ADT, Talent Acquisition Team
